                 Case 2:98-cr-00690-RBL           Document 620     Filed 01/31/06     Page 1 of 1



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 2                UNITED STATES DISTRICT COURT W.D. OF WASHINGTON AT TACOMA
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 4      UNITED STATES OF AMERICA,
 5                                                                 Case No. CR98-690RBL
                                 Plaintiff,
 6                                                                 INITIAL ORDER RE:
                          v.                                       ALLEGATIONS OF
 7                                                                 VIOLATION OF
        JAMES EARL HINES,                                          CONDITIONS OF
 8                                                                 SUPERVISION
                                 Defendants.
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11          THIS MATTER comes on for an initial hearing on the Petition of the United States Probation
     Office alleging that the defendant has violated the conditions of supervision.
12              The plaintiff appears through Assistant United States Attorney, Ye-Ting Woo.
13              The defendant appears personally and represented by counsel, Peter Mazzone.
14              The U.S. Probation Office has filed a petition alleging violations of the terms and conditions of
15              supervision, and the defendant has been advised of the allegation(s).

16              The court finds probable cause with regard to the allegation(s) and schedules a hearing on the
                petition to be held at the time and date below set forth as follows:
17                             Date of hearing:    FEBRUARY 22, 2006
18                             Time of hearing: 8:30 a.m.
19              IT IS ORDERED that the defendant:
20              ( X ) Be released on the terms and conditions set forth on supervised release.
21              ( ) Be detained for failing to show that he/she will not flee or pose a danger to any other person
22                   or the community pursuant to CrR 32.1(a)(1), and CrR 46(c), to be delivered as ordered
                     by the court for further proceedings.
23           The clerks shall direct copies of this order to counsel for the United States, to counsel for the
24   defendant, the United States Marshal and to the United States Probation Office and/or Pretrial Services
     Office.
                                                  January 31, 2006

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                                                     Ronald B. Leighton
27                                                   United States District Judge
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     ORDER
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